      Case 4:18-cr-06054-EFS     ECF No. 293   filed 05/05/22   PageID.7607 Page 1 of 2




1    Vanessa R. Waldref
     United States Attorney
2    Eastern District of Washington
     Tyler H.L. Tornabene
3    Daniel Hugo Fruchter
4    Assistant United States Attorneys
     Post Office Box 1494
5    Spokane, WA 99210-1494
     Telephone: (509) 353-2767
6
7                           UNITED STATES DISTRICT
                   FOR THE EASTERN DISTRICT OF WASHINGTON
8
9    UNITED STATES OF AMERICA,
                                                   Case No.: 4:18-CR-6054-EFS
10                             Plaintiff,
11                                                 United States’ Motion for Leave to
                  v.                               File Document Under Seal
12
13   SAMI ANWAR,                                   Without Oral Argument
                                                   Date: May 12, 2022
14                            Defendant.           Time: 6:30 p.m.
15
16         Plaintiff, United States of America, by and through Vanessa R. Waldref,
17   United States Attorney for the Eastern District of Washington, and Tyler H.L.
18   Tornabene, Assistant United States Attorney for the Eastern District of Washington,
19   moves the Court for leave to file under seal Exhibit A to the United States’ Response
20   to Defendant’s Emergency Motion for Compassionate Release (ECF 292) in the
21   above-entitled matter. Exhibit A contains medical records regarding the Defendant.
22         Dated: May 5, 2022.
23                                                Vanessa R. Waldref
24                                                United States Attorney
25                                                s/ Tyler H.L. Tornabene
26                                                Tyler H.L. Tornabene
                                                  Assistant United States Attorney
27

     Motion for Leave to File Document Under Seal – 1
      Case 4:18-cr-06054-EFS     ECF No. 293   filed 05/05/22   PageID.7608 Page 2 of 2




1
                               CERTIFICATE OF SERVICE
2
3          I hereby certify that on May 5, 2022, I electronically filed the foregoing with
4
     the Clerk of the Court using the CM/ECF system which will send notification of
5
     such filing to the following:
6
7          Alan Ellis          Email: AELaw1@AlanEllis.com
8          Jeffry K. Finer     Email: jfiner@ksblit.legal

9
10                                                s/ Tyler H.L. Tornabene
                                                  Tyler H.L. Tornabene
11
                                                  Assistant United States Attorney
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

     Motion for Leave to File Document Under Seal – 2
